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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                No. 4:05CR00259-05 JLH

HENRY JONES

                                           ORDER

       Henry Jones’s motion for early termination of supervised release is GRANTED without

objection. Document #243. Jones is hereby discharged and released from further supervision.

       IT IS SO ORDERED this 29th day of January, 2014.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
